          Case 8:20-cv-00991-CEH-TGW Document 3 Filed 04/30/20 Page 1 of 4 PageID 17

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida

                                                                     )
                    EMMETT F. BUTLER                                 )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 8:20-cv-00991
                                                                     )
VERIZON WIRELESS SERVICES, LLC, a division of                        )
   Verizon Communications, Inc. and AARGON                           )
               AGENCY, INC.,                                         )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) VERIZON WIRELESS SERVICES, LLC, a division of Verizon Communications, Inc.
                                           C/O REGISTERED AGENT
                                           C T CORPORATION SYSTEM
                                           1200 SOUTH PINE ISLAND ROAD
                                           PLANTATION, FL 33324



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alexander J. Taylor, Esq.
                                           Sulaiman Law Group, Ltd
                                           2500 S Highland Ave, Suite 200
                                           Lombard, IL 60148



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date: April
       p 30,, 2020                                                                         TelishaCatchings
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           Case 8:20-cv-00991-CEH-TGW Document 3 Filed 04/30/20 Page 2 of 4 PageID 18

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:20-cv-00991

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 8:20-cv-00991-CEH-TGW Document 3 Filed 04/30/20 Page 3 of 4 PageID 19

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida

                                                                     )
                    EMMETT F. BUTLER                                 )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 8:20-cv-00991
                                                                     )
VERIZON WIRELESS SERVICES, LLC, a division of                        )
   Verizon Communications, Inc. and AARGON                           )
               AGENCY, INC.                                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AARGON AGENCY, INC.
                                           C/O REGISTERED AGENT
                                           COGENCY GLOBAL INC.
                                           115 NORTH CALHOUN ST., SUITE 4
                                           TALLAHASSEE, FL 32301



          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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                                                                               CLERK OF COURT


Date:       April
             p 30,, 2020                                                                    TelishaCatchings
                                                                                         Signature
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           Case 8:20-cv-00991-CEH-TGW Document 3 Filed 04/30/20 Page 4 of 4 PageID 20

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:20-cv-00991

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                                                                 , a person of suitable age and discretion who resides there,
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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
